 Case 3:20-cv-00305-D-BN Document 11 Filed 09/24/20         Page 1 of 1 PageID 35



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

TIMOTHY JAMAL WHITE,                     §
#4194-19,                                §
                                         §
             Plaintiff,                  §
                                         §
V.                                       §          No. 3:20-CV-0305-D
                                         §
MELANIE REED, ET AL.,                    §
                                         §
             Defendants.                 §

                                      ORDER

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The undersigned district judge

reviewed the proposed findings, conclusions, and recommendation for plain error.

Finding none, the court adopts the findings, conclusions, and recommendation of the

United States Magistrate Judge.

      SO ORDERED.

      September 24, 2020.

                                             _______________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE
